        Case: 1:17-cv-04098 Document #: 1 Filed: 05/31/17 Page 1 of 4 PageID #:1



                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 DR. CHARLES SHULRUFF, D.D.S.,

      Plaintiff,                                     Case No.: 17cv4098
 v.

 ENDOCO, INC.,
 and JOHN DOES 1-10,

      Defendants.



                                       NOTICE OF REMOVAL

        PLEASE TAKE NOTICE that Defendant Endoco, Inc. (“Endoco”), appearing herein

through the undersigned counsel, respectfully removes this state court matter previously pending

as Civil Action No. 2017-CH-05319 in the Circuit Court of Cook County, Illinois, County

Department, Chancery Division (“Circuit Court of Cook County”) to the Northern District of

Illinois, Eastern Division, pursuant to 28 U.S.C. §§ 1331, 1441, and 1446. In support of this Notice

of Removal (“Notice”), Endoco states as follows:

        1.         On or about April 13, 2017, Plaintiff Charles Shulruff, D.D.S. (“Plaintiff”) filed

this action in the Circuit Court of Cook County, styled Shulruff v. Endoco, Inc., Civil Action No.

2017-CH-05319 (the “State Court Action”). A true and correct copy of the Complaint – Class

Action (“Complaint” or “Compl.”) is attached hereto as Exhibit A.

        2.         Plaintiff brings this putative class action alleging that Endoco and John Does 1-10

(collectively, “Defendants”) violated the Telephone Consumer Protection Act (“TCPA”). (Ex. A,

Compl., at 4-5.). Specifically, Plaintiff maintains that Defendants sent, or caused to be sent,

unsolicited fax advertisements to Plaintiff. (Id.) He also alleges that the fax advertisements lacked

certain information that the law requires. (Id. at 3.)
      Case: 1:17-cv-04098 Document #: 1 Filed: 05/31/17 Page 2 of 4 PageID #:2



       3.      Plaintiff claims that he and the putative class are entitled to statutory damages as a

result of the transmission of the unsolicited fax advertisements, and he seeks an injunction against

further transmission of the alleged unsolicited advertisements. (Id. at 7.)

       4.      As more fully set forth below, this case is properly removed to this Court pursuant

to 28 U.S.C. § 1446 because the procedural requirements for removal are satisfied, and this Court

has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1441.

I.     THE PROCEDURAL REQUIREMENTS FOR REMOVAL ARE SATISFIED.

       5.      Endoco was served with the Complaint on or about May 1, 2017. Accordingly, this

Notice is timely under 28 U.S.C. § 1446(b).

       6.      Pursuant to 28 U.S.C. § 1446(a), true and exact copies of all process/summons,

pleadings, and orders served upon Endoco in this matter are included in this Notice. (See Exhibit

A.)

       7.      The United States District Court for the Northern District of Illinois, Eastern

Division embraces the Circuit Court of Cook County, which is where the State Court Action was

initially filed. 28 U.S.C. § 93(a), 1441(a), 1446(a). Thus, this case is properly removed to this

Court under 28 U.S.C. § 1446(a).

       8.      In compliance with 28 U.S.C. § 1446(a), this Notice is signed pursuant to Rule 11

of the Federal Rules of Civil Procedure.

       9.      No previous application has been made for the relief requested herein.

       10.     If any question arises regarding the propriety of the removal of this action, Endoco

respectfully requests the opportunity to present a brief and oral argument in support of Endoco’s

position that this case is removable, and to conduct jurisdictional discovery, if needed.




                                                 2
      Case: 1:17-cv-04098 Document #: 1 Filed: 05/31/17 Page 3 of 4 PageID #:3



       11.     Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice will be served upon counsel

for Plaintiff, and a copy will be filed with the Clerk of the Circuit Court of Cook County, the state

court in which this action was previously pending.

      12.      By filing this Notice, Endoco does not waive, and hereby reserves, any right to

assert objections and defenses to the Complaint, including, but not limited to, all objections and

defenses relating to service of process and personal jurisdiction.

II.    REMOVAL IS PROPER BECAUSE THIS COURT HAS SUBJECT MATTER
       JURISDICTION PURSUANT TO 28 U.S.C. §§ 1331 AND 1441.

      13.      A defendant may remove any action from a state court to a federal court if the action

involves a claim brought under the laws of the United States. 28 U.S.C. § 1441.

      14.      Here, Plaintiff alleges that Defendants violated the TCPA, 47 U.S.C. § 227, et seq.

(See Ex. A, Compl., at 4-5.) Consequently, this Court has original jurisdiction over the Complaint

pursuant to 28 U.S.C. § 1331.

       WHEREFORE, Endoco respectfully removes this action from the Circuit Court of Cook

County, bearing Civil Action 17-CH-05319, to this Court pursuant to 28 U.S.C. §§ 1331, 1441,

and 1446.



                                                Respectfully Submitted,


Dated: May 31, 2017                     By: /s/ Kathleen L. Carlson

                                                Kathleen L. Carlson
                                                SIDLEY AUSTIN LLP
                                                One South Dearborn Street
                                                Chicago, IL 60603
                                                Telephone: (312) 853-7000
                                                kathleen.carlson@sidley.com

                                                Counsel for Defendant Endoco, Inc.

                                                 3
      Case: 1:17-cv-04098 Document #: 1 Filed: 05/31/17 Page 4 of 4 PageID #:4



                                CERTIFICATE OF SERVICE

       I hereby certify that on May 31, 2017, a true and correct copy of the foregoing document

was electronically filed and served on all counsel of record in this action who are deemed to have

consented to electronic service via the Court’s CM/ECF system.




                                             s/ Kathleen L. Carlson
